[1] Motion to dismiss appeal. The issue turns upon whether or not on the nineteenth day of November, *Page 645 
1928, respondents served upon appellant a notice in writing of entry of judgment (sec. 953d, Code Civ. Proc.). This issue is presented to us by affidavits and counter-affidavits of the respective attorneys, aided by the affidavit of a clerk in the office of one of the attorneys and also by certain notations upon the register of the clerk of the court. No benefit would result from a detailed recital of the claims of the parties. We feel that it is only necessary to say that the issue made rests upon a very sharp conflict of evidence and is between reputable attorneys. To our mind it is clouded with grave doubt. This being true, our duty requires a denial of the motion, and it is so ordered.
Waste, C.J., Curtis, J., Seawell, J., Richards, J., Shenk, J., and Langdon, J., concurred.